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           EXHIBIT A
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  CERTIFICATION OF PLAINTIFF PURSUANT TO FEDERAL SECURITIES LAWS

           I, Glen E Littleton , duly certify and say, as to the claims asserted under the federal
securities laws, that:

           1. I have reviewed a complaint filed in the action(s).

            2. I did not purchase the security that is the subject of this action at the direction of
plaintiff's counsel or in order to participate in this private action.

         3. I am willing to serve as a representative party on behalf of the class, including
providing testimony at deposition and trial, if necessary.

          4. My transaction(s) in Tesla, Inc. which are the subject of this litigation during the
class period set forth in the complaint are set forth in the chart attached hereto.

          5. Within the last 3 years, I have not sought to serve nor have I served as a class
representative in any federal securities fraud case.

           6. I will not accept any payment for serving as a representative party on behalf of the
class beyond the Plaintiff's pro rata share of any recovery, except as ordered or approved by the
court, including any award for reasonable costs and expenses (including lost wages) directly
relating to the representation of the class.

          I certify under penalty of perjury under the laws of the United States of America that
the foregoing is true and correct. Executed this October 9, 2018.

 Name: Glen E Littleton
Signed:
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Glen Littleton
Transactions in Tesla, Inc. (TSLA) Securities

Class Period: all persons other than Defendants who purchased, sold, or otherwise transacted in
Tesla securities between August 7, 2018 and August 17, 2018, both dates inclusive

Date of Transaction    Buy (B), Sell (S), Sell to Open      Security      Quantity    Price ($)
                      (SO), Buy to Open (BO), Sell to
                      Close (SC) or Buy to Close (BC)

     8/7/2018                       SC                   P TSLA JUN 300     (25)     39.75000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     39.75000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     39.75000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.40000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.40000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.40000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.40000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.40000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.63000000
     8/7/2018                       SC                   P TSLA JUN 300     (25)     38.90000000
     8/7/2018                       SO                   C TSLA JUN 500     (25)     20.13000000
     8/7/2018                       SO                   C TSLA JUN 500     (25)     19.60000000
     8/7/2018                       SO                   C TSLA JUN 500     (25)     19.43000000
     8/7/2018                       SO                   C TSLA JUN 500     (25)     19.55000000
     8/7/2018                       SO                   C TSLA JUN 550     (19)     12.90000000
     8/7/2018                       SO                   C TSLA JUN 550      (1)     12.80000000
     8/7/2018                       SO                   C TSLA JUN 550     (14)     11.65000000
     8/7/2018                       SO                   C TSLA JUN 550      (5)     11.25000000
     8/7/2018                       SO                   C TSLA JUN 550      (6)     11.25000000
     8/7/2018                       SO                   C TSLA JUN 550      (5)     11.20000000
     8/7/2018                       SO                   C TSLA JUN 550     (18)     11.06277778
     8/7/2018                       SO                   C TSLA JUN 550      (4)     11.05000000
     8/7/2018                       SO                   C TSLA JUN 550      (1)     10.95000000
     8/7/2018                       SO                   C TSLA JUN 550      (2)     10.95000000
     8/7/2018                       SO                   C TSLA JUN 550     (10)     11.10000000
     8/7/2018                       SO                   C TSLA JUN 550      (2)     11.05000000
     8/7/2018                       SO                   C TSLA JUN 550     (13)     11.00000000
     8/8/2018                       BO                   C TSLA JUN 400      50      35.64140000
     8/8/2018                       BO                   C TSLA JUN 400       2      36.46500000
     8/8/2018                       BO                   C TSLA JUN 400      46      36.59934783
     8/8/2018                       BO                   C TSLA JUN 400      50      36.75840000
     8/8/2018                       BO                   C TSLA JUN 400       2      35.50000000
     8/8/2018                       BO                   C TSLA JUN 400      50      36.98340000
     8/8/2018                       BO                   C TSLA JUN 400      50      37.16380000
     8/8/2018                       BO                   C TSLA JAN 400      50      46.98000000
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8/8/2018                BO               C TSLA JAN 400     2    48.26500000
8/8/2018                BO               C TSLA JAN 400    48    48.20625000
8/8/2018                BO               C TSLA JAN 400    50    48.24800000
8/8/2018                BO               C TSLA JAN 400    15    48.83133333
8/8/2018                BO               C TSLA JAN 400    50    48.41960000
8/8/2018                BO               C TSLA JAN 400    41    49.87048780
8/8/2018                BO               C TSLA JAN 400     9    50.78777778
8/8/2018                BO               C TSLA JAN 400     1    50.75000000
8/8/2018                BO               C TSLA JAN 400    10    50.00000000
8/8/2018                BO               C TSLA JAN 400    24    50.02625000
8/8/2018                BO               C TSLA JAN 400    10    50.83200000
8/8/2018                BO               C TSLA JAN 400    50    50.50580000
8/8/2018                BO               C TSLA JAN 400    50    50.12520000
8/8/2018                BO               C TSLA JAN 400    50    51.01780000
8/8/2018                BO               C TSLA JAN 400    37    50.91216216
8/8/2018                BO               C TSLA JAN 400     3    50.57000000
8/8/2018                SC               C TSLA JAN 400   (25)   49.77400000
8/8/2018                SC               C TSLA JAN 400   (10)   49.74400000
8/8/2018                SC               C TSLA JAN 400    (1)   49.93000000
8/8/2018                SC               C TSLA JAN 400    (2)   49.82500000
8/8/2018                SC               C TSLA JAN 400   (24)   49.80958333
8/8/2018                SC               C TSLA JAN 400   (25)   49.70360000
8/8/2018                SC               C TSLA JAN 400   (11)   50.32545455
8/8/2018                SC               C TSLA JAN 400   (16)   49.28187500
8/8/2018                SC               C TSLA JAN 400    (9)   50.03333333
8/8/2018                SC               C TSLA JAN 400    (1)   50.15000000
8/8/2018                SC               C TSLA JAN 400    (1)   49.23000000
8/8/2018                SC               C TSLA JAN 400   (10)   49.18400000
8/8/2018                SC               C TSLA JAN 400    (8)   49.84875000
8/8/2018                SC               C TSLA JAN 400    (7)   48.88857143
8/8/2018                SC               C TSLA JAN 400   (25)   49.74960000
8/8/2018                SC               C TSLA JAN 400   (25)   49.67680000
8/8/2018                SC               C TSLA JAN 400   (25)   49.58000000
8/8/2018                SC               C TSLA JAN 400   (25)   49.54280000
8/8/2018                SC               P TSLA JAN 400   (25)   75.00000000
8/8/2018                SC               P TSLA JAN 400   (12)   75.00000000
8/8/2018                SC               P TSLA JAN 400   (25)   73.15000000
8/8/2018                SC               P TSLA JAN 400   (25)   72.41560000
8/8/2018                SC               P TSLA JAN 400   (13)   72.50000000
8/8/2018                SC               P TSLA JAN 400   (15)   73.70000000
8/8/2018                SC               P TSLA JAN 400   (10)   72.45000000
8/8/2018                SC               P TSLA JAN 400   (25)   73.62000000
8/8/2018                SC               P TSLA JAN 400   (25)   72.94600000
8/8/2018                SC               P TSLA JAN 400   (25)   71.55080000
8/8/2018                SC               C TSLA JUN 450   (50)   16.96440000
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8/8/2018                SC               C TSLA JUN 450    (2)   16.64500000
8/8/2018                SC               C TSLA JUN 450   (46)   16.95369565
8/8/2018                SC               C TSLA JUN 450   (50)   17.00360000
8/8/2018                SC               C TSLA JUN 450    (2)   17.05000000
8/8/2018                SC               C TSLA JUN 450   (50)   17.39000000
8/8/2018                SC               C TSLA JUN 450   (50)   17.23380000
8/8/2018                SC               C TSLA JAN 450   (50)   26.42000000
8/8/2018                SC               C TSLA JAN 450    (2)   27.70500000
8/8/2018                SC               C TSLA JAN 450   (48)   27.48875000
8/8/2018                SC               C TSLA JAN 450   (50)   27.54800000
8/8/2018                SC               C TSLA JAN 450   (15)   28.13133333
8/8/2018                SC               C TSLA JAN 450   (50)   27.66960000
8/8/2018                SC               C TSLA JAN 450   (41)   29.02048780
8/8/2018                SC               C TSLA JAN 450    (9)   29.77777778
8/8/2018                SC               C TSLA JAN 450    (1)   29.65000000
8/8/2018                SC               C TSLA JAN 450   (10)   28.86000000
8/8/2018                SC               C TSLA JAN 450   (24)   28.78625000
8/8/2018                SC               C TSLA JAN 450   (10)   29.73200000
8/8/2018                SC               C TSLA JAN 450   (50)   29.23580000
8/8/2018                SC               C TSLA JAN 450   (50)   28.72520000
8/8/2018                SC               C TSLA JAN 450   (50)   29.61780000
8/8/2018                SC               C TSLA JAN 450   (37)   29.62567568
8/8/2018                SC               C TSLA JAN 450    (3)   29.07000000
8/8/2018                SO               C TSLA JUN 500   (25)    9.08000000
8/8/2018                SO               C TSLA JUN 500   (25)    9.10000000
8/8/2018                SC               C TSLA JAN 500   (50)   17.25000000
8/8/2018                SC               C TSLA JAN 500   (50)   16.25000000
8/8/2018                SC               C TSLA JAN 500   (50)   17.25000000
8/8/2018                SC               C TSLA JAN 500   (50)   17.25000000
8/8/2018                SC               C TSLA JAN 500   (50)   17.50000000
8/8/2018                BC               C TSLA JAN 600    25    7.28400000
8/8/2018                BC               C TSLA JAN 600    10    7.25400000
8/8/2018                BC               C TSLA JAN 600     1    7.58000000
8/8/2018                BC               C TSLA JAN 600     2    7.57500000
8/8/2018                BC               C TSLA JAN 600    24    7.81958333
8/8/2018                BC               C TSLA JAN 600    25    8.02360000
8/8/2018                BC               C TSLA JAN 600    11    8.42545455
8/8/2018                BC               C TSLA JAN 600    16    7.60187500
8/8/2018                BC               C TSLA JAN 600     9    8.48333333
8/8/2018                BC               C TSLA JAN 600     1    8.50000000
8/8/2018                BC               C TSLA JAN 600     1    7.47000000
8/8/2018                BC               C TSLA JAN 600    10    7.58400000
8/8/2018                BC               C TSLA JAN 600     8    8.25000000
8/8/2018                BC               C TSLA JAN 600     7    7.33857143
8/8/2018                BC               C TSLA JAN 600    25    7.90000000
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 8/8/2018               BC               C TSLA JAN 600    25     7.83000000
 8/8/2018               BC               C TSLA JAN 600    25     7.73400000
 8/8/2018               BC               C TSLA JAN 600    25     7.70000000
 8/8/2018               BC               P TSLA JAN 600    25    232.93560000
 8/8/2018               BC               P TSLA JAN 600    25    233.07320000
 8/8/2018               BC               P TSLA JAN 600    25    233.61600000
 8/8/2018               BC               P TSLA JAN 600    25    231.89640000
 8/9/2018                B                Common Stock    100    350.43000000
 8/9/2018               SO               P TSLA JAN 250   (25)    35.05000000
 8/9/2018               SC               C TSLA JAN 400   (25)    45.88000000
 8/9/2018               SC               C TSLA JAN 400   (25)    46.55000000
 8/9/2018               SC               C TSLA JAN 400   (25)    46.50000000
 8/9/2018               SC               C TSLA JAN 400    (9)    46.43222222
 8/9/2018               SC               C TSLA JAN 400   (10)    46.45000000
 8/9/2018               SC               C TSLA JAN 400   (15)    46.30000000
 8/9/2018               SC               C TSLA JAN 400   (13)    46.40000000
 8/9/2018               SC               C TSLA JAN 400    (3)    46.30000000
 8/9/2018               SO               C TSLA JUN 500   (25)     9.35000000
 8/9/2018               SO               C TSLA JUN 500   (25)     9.15000000
 8/9/2018               SO               C TSLA JAN 550   (25)    12.50000000
 8/9/2018               SO               C TSLA JAN 550    (5)    12.50000000
 8/9/2018               SO               C TSLA JAN 550   (25)    12.25000000
 8/9/2018               SO               C TSLA JAN 550   (25)    12.25000000
 8/9/2018               SO               C TSLA JAN 600   (10)     9.15000000
 8/9/2018               SO               C TSLA JAN 600   (15)     9.05000000
 8/9/2018               SO               C TSLA JAN 600   (25)     9.50000000
 8/9/2018               BC               C TSLA JAN 650     9     7.05222222
 8/9/2018               BC               C TSLA JAN 650    13     7.15000000
 8/9/2018               BC               C TSLA JAN 650     3     7.26000000
8/10/2018               SO               P TSLA JAN 350   (25)    72.25000000
8/10/2018               SO               P TSLA JAN 350    (5)    68.00000000
8/10/2018               SO               P TSLA JAN 350    (5)    66.25000000
8/10/2018               SC               C TSLA JUN 400   (25)    35.11040000
8/10/2018               SC               C TSLA JUN 400   (25)    34.83880000
8/10/2018               SC               C TSLA JUN 400   (25)    34.62800000
8/10/2018               SC               C TSLA JUN 400   (25)    34.53200000
8/10/2018               SC               C TSLA JUN 400   (19)    34.62526316
8/10/2018               SC               C TSLA JUN 400   (25)    34.61320000
8/10/2018               SC               C TSLA JUN 400   (25)    34.61720000
8/10/2018               SC               C TSLA JUN 400    (5)    34.58000000
8/10/2018               SC               C TSLA JUN 400   (25)    34.39280000
8/10/2018               SC               C TSLA JUN 400   (25)    34.02040000
8/10/2018               SC               C TSLA JUN 400   (25)    34.00600000
8/10/2018               SC               C TSLA JUN 400   (25)    33.99240000
8/10/2018               SC               C TSLA JUN 400   (25)    33.28000000
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8/10/2018               SC               C TSLA JUN 400   (26)   35.36038462
8/10/2018               SC               C TSLA JUN 400   (25)   35.31640000
8/10/2018               SC               C TSLA JUN 400   (25)   35.34440000
8/10/2018               SC               C TSLA JUN 400   (25)   35.35360000
8/10/2018               SC               C TSLA JUN 400   (25)   34.75920000
8/10/2018               SC               C TSLA JUN 400   (25)   33.85640000
8/10/2018               SC               C TSLA JUN 400   (25)   34.62640000
8/10/2018               SC               C TSLA JUN 400   (25)   34.58480000
8/10/2018               BO               C TSLA JAN 400    25    47.58040000
8/10/2018               BO               C TSLA JAN 400    25    47.31960000
8/10/2018               BO               C TSLA JAN 400    25    47.16480000
8/10/2018               BO               C TSLA JAN 400    25    47.09120000
8/10/2018               BO               C TSLA JAN 400    25    46.92640000
8/10/2018               BO               C TSLA JAN 400    25    46.53760000
8/10/2018               BO               C TSLA JAN 400    25    46.55000000
8/10/2018               BO               C TSLA JAN 400    25    46.09440000
8/10/2018               BC               C TSLA JUN 500    19     9.41105263
8/10/2018               BC               C TSLA JUN 500    25     9.48800000
8/10/2018               BC               C TSLA JUN 500    25     9.49280000
8/10/2018               BC               C TSLA JUN 500     5     9.48000000
8/10/2018               BC               C TSLA JUN 500    25     9.81040000
8/10/2018               BC               C TSLA JUN 500    26    10.17769231
8/10/2018               BC               C TSLA JUN 500    25    10.18720000
8/10/2018               BC               C TSLA JUN 500    25    10.20920000
8/10/2018               BC               C TSLA JUN 500    25    10.19920000
8/10/2018               SO               C TSLA JAN 500   (25)   18.25000000
8/10/2018               SO               C TSLA JAN 500   (25)   18.25000000
8/10/2018               BC               C TSLA JUN 550    25     4.80000000
8/10/2018               BC               C TSLA JUN 550    25     5.25520000
8/10/2018               BC               C TSLA JUN 550    25     5.57640000
8/10/2018               BC               C TSLA JUN 550    25     5.58480000
8/13/2018               SO               P TSLA JAN 350    (5)   66.50000000
8/13/2018               SO               P TSLA JAN 350    (5)   63.50000000
8/13/2018               SO               P TSLA JAN 350    (5)   64.90000000
8/13/2018               SO               C TSLA JAN 550   (10)    9.58000000
8/13/2018               SO               C TSLA JAN 550   (10)    9.95000000
8/13/2018               SO               C TSLA JAN 550    (5)    9.40000000
8/14/2018               SO               C TSLA JAN 500   (10)   12.75000000
8/14/2018               SO               C TSLA JAN 500   (10)   12.75000000
8/14/2018               SO               C TSLA JAN 500    (5)   12.75000000
8/15/2018               SO               P TSLA JAN 250   (25)   32.75000000
8/15/2018               BO               C TSLA JAN 350    25    58.43800000
8/15/2018               BO               C TSLA JAN 350     2    58.24500000
8/15/2018               BO               C TSLA JAN 350    11    57.97545455
8/15/2018               BO               C TSLA JAN 350    12    56.34250000
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8/15/2018               BO               C TSLA JAN 350     9    56.78222222
8/15/2018               BO               C TSLA JAN 350     5    56.09600000
8/15/2018               BO               C TSLA JAN 350     4    55.01000000
8/15/2018               BO               C TSLA JAN 350     4    55.87250000
8/15/2018               BO               C TSLA JAN 350     2    56.05000000
8/15/2018               BO               C TSLA JAN 350     1    54.81000000
8/15/2018               BO               C TSLA JAN 350    19    55.14315789
8/15/2018               BO               C TSLA JAN 350     6    54.97333333
8/15/2018               BO               C TSLA JAN 350    11    54.94909091
8/15/2018               BO               C TSLA JAN 350    14    55.24285714
8/15/2018               BO               C TSLA JAN 350    25    52.46040000
8/15/2018               BO               C TSLA JAN 350     1    52.48000000
8/15/2018               BO               C TSLA JAN 350    25    52.03000000
8/15/2018               BO               C TSLA JAN 350    24    52.68500000
8/15/2018               BO               C TSLA JAN 350    24    52.69541667
8/15/2018               BO               C TSLA JAN 350     1    52.70000000
8/15/2018               BO               C TSLA JAN 350    25    56.30360000
8/15/2018               SC               C TSLA JAN 400   (50)   34.41340000
8/15/2018               SC               C TSLA JAN 400    (4)   35.29250000
8/15/2018               SC               C TSLA JAN 400   (22)   35.66363636
8/15/2018               SC               C TSLA JAN 400   (24)   34.57000000
8/15/2018               SC               C TSLA JAN 400   (18)   34.04444444
8/15/2018               SC               C TSLA JAN 400   (10)   33.32600000
8/15/2018               SC               C TSLA JAN 400    (8)   32.69500000
8/15/2018               SC               C TSLA JAN 400    (8)   33.10250000
8/15/2018               SC               C TSLA JAN 400    (4)   33.05000000
8/15/2018               SC               C TSLA JAN 400    (2)   33.25000000
8/15/2018               SC               C TSLA JAN 400   (38)   32.62815789
8/15/2018               SC               C TSLA JAN 400   (12)   32.56333333
8/15/2018               SC               C TSLA JAN 400   (22)   33.19863636
8/15/2018               SC               C TSLA JAN 400   (28)   32.88500000
8/15/2018               SC               C TSLA JAN 400   (50)   31.81900000
8/15/2018               SC               C TSLA JAN 400    (2)   31.52000000
8/15/2018               SC               C TSLA JAN 400   (50)   31.87500000
8/15/2018               SC               C TSLA JAN 400   (24)   32.10208333
8/15/2018               SC               C TSLA JAN 400   (24)   32.09875000
8/15/2018               SC               C TSLA JAN 400   (25)   34.08280000
8/15/2018               BC               C TSLA JAN 650    25     4.05000000
8/15/2018               BC               C TSLA JAN 650    25     4.25000000
8/15/2018               BC               C TSLA JAN 650    15     4.25000000
8/15/2018               BC               C TSLA JAN 650    10     4.30000000
8/15/2018               BC               C TSLA JAN 650    25     4.15000000
8/16/2018               SC               C TSLA JAN 400   (25)   33.95440000
8/16/2018               BC               C TSLA JAN 650    25     4.13160000
8/17/2018               BO               P TSLA JAN 200    25    31.05000000
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8/17/2018               BO               P TSLA JAN 200    25    30.78000000
8/17/2018               BO               P TSLA JAN 200    25    30.66440000
8/17/2018               BO               P TSLA JAN 200    25    30.83000000
8/17/2018               BO               P TSLA JAN 200     5    30.95000000
8/17/2018               BO               P TSLA JAN 200    20    31.10000000
8/17/2018               BO               P TSLA JAN 200    25    30.70040000
8/17/2018               SO               P TSLA JAN 300   (25)   55.74480000
8/17/2018               SO               P TSLA JAN 300    (2)   55.83500000
8/17/2018               SO               P TSLA JAN 300   (23)   55.73521739
8/17/2018               SO               P TSLA JAN 300   (25)   65.44960000
8/17/2018               SO               P TSLA JAN 300   (25)   65.79480000
8/17/2018               BC               P TSLA JAN 350    25    79.30200000
8/17/2018               BC               P TSLA JAN 350     2    79.29500000
8/17/2018               BC               P TSLA JAN 350    23    79.27695652
8/17/2018               SC               C TSLA JAN 400   (25)   30.90480000
8/17/2018               SC               C TSLA JAN 400   (25)   30.92000000
8/17/2018               SC               C TSLA JAN 400    (2)   30.99500000
8/17/2018               SC               C TSLA JAN 400   (17)   31.08588235
8/17/2018               SC               C TSLA JAN 400   (25)   30.87600000
8/17/2018               SC               C TSLA JAN 400   (19)   30.99947368
8/17/2018               SC               C TSLA JAN 400    (6)   30.92333333
8/17/2018               SC               C TSLA JAN 400    (1)   30.90000000
8/17/2018               SC               C TSLA JAN 400    (5)   30.35400000
8/17/2018               BC               C TSLA JAN 600    19     5.04157895
8/17/2018               BC               C TSLA JAN 600     6     4.93333333
8/17/2018               BC               C TSLA JAN 650    25     4.36480000
8/17/2018               BC               C TSLA JAN 650    25     4.38000000
8/17/2018               BC               C TSLA JAN 650     2     3.47500000
8/17/2018               BC               C TSLA JAN 650    17     3.69588235
8/17/2018               BC               C TSLA JAN 650    25     3.82600000
8/17/2018               BC               C TSLA JAN 650     1     3.85000000
8/17/2018               BC               C TSLA JAN 650     5     3.31000000
